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 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
     JESSICA HAWLEY and KILEY KRZYZEK,                    Case No. 3:24-cv-03142-TLT
11
     individually and on behalf of all others similarly
12   situated,                                            NOTICE OF VOLUNTARY DISMISSAL
                                                          WITHOUT PREJUDICE OF
13                                         Plaintiffs,    PLAINTIFFS’ CLAIMS AGAINST
            v.                                            AIRBNB TRAVEL INSURANCE
14                                                        AGENCY, LLC ONLY
15   AIRBNB TRAVEL INSURANCE AGENCY
     LLC and GENERALI ASSICURAZIONI
16   GENERALI S.P.A.,

17                                      Defendants.
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     NOTICE OF DISMISSAL OF CLAIMS AGAINST AIRBNB TRAVEL INSURANCE AGENCY, LLC
     CASE NO. 3:24-cv-03142-TLT
         Case 3:24-cv-03142-TLT Document 13 Filed 06/26/24 Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Jessica Hawley and
 2   Kiley Krzyzek hereby voluntarily dismiss without prejudice their claims against Airbnb Travel
 3   Insurance Agency, LLC only. Plaintiffs are not dismissing their claims against Generali
 4   Assicurazioni Generali S.P.A.1
 5
     Dated: June 26, 2024                         BURSOR & FISHER, P.A.
 6
                                                  By:      /s/ Brittany S. Scott
 7                                                             Brittany S. Scott

 8                                                Neal J. Deckant (State Bar No. 322946)
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                                                  Attorneys for Plaintiffs
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      Plaintiffs expressly reserve the right to amend their class action complaint to add Airbnb
28   Insurance Agency LLC as a Defendant.

     NOTICE OF DISMISSAL OF CLAIMS AGAINST AIRBNB TRAVEL INSURANCE AGENCY, LLC                          1
     CASE NO. 3:24-CV-03142-TLT
